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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

 FLO-TECH MECHANICAL
 SYSTEMS, INC., individually and as
 the representatives of a class of similarly
 situated persons and entities,                           Case No. 1:19-cv-07821

      Plaintiff,                                          Honorable Judge Virginia M. Kendall
 v.

 PROXY PROTECTION, LLC, d/b/a
 FIRST AMERICAN CAPITAL,

      Defendant.

      NOTICE OF VOLUNTARY DISMISSAL AS TO PROXY PROTECTION, LLC

        NOW COMES, FLO-TECH MECHANICAL SYSTEMS, INC. (“Plaintiff”), pursuant to

Fed. R. Civ. P. 41(a)(1)(A)(i), and in support if its Notice of Voluntary Dismissal as to Defendant

PROXY PROTECTION, LLC, states as follows:

        1.         Plaintiff, individually and on behalf of a class of similarly situated individuals, filed

a putative class action suit against Defendant Proxy Protection, LLC, d/b/a FIRST AMERICAN

CAPITAL, pursuant to the Telephone Consumer Protection Act of 1991, 47 USC §227, et seq. The

putative class action alleges that sent an advertising facsimile to Plaintiff without Plaintiff’s

express permission.

        2.         Proxy Protection, LLC was been served with summons and the Complaint. Dkt. 4.

        3.         After Proxy Protection, LLC was served, its in-house counsel reached out to the

undersigned to explain that it was incorrectly sued as the sender of the subject facsimile.

        4.         Thereafter, counsel for Proxy Protection, LLC provided information which may

identify the entity or person that sent the subject facsimile.


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        5.      Plaintiff in the process of investigating the identity of the entity or person that sent

the subject facsimile and will refile this Complaint if the entity or person that sent the subject

facsimile is located and confirmed as a viable defendant.

        6.      As of today’s date, by agreement, Proxy Protection, LLC has neither answered or

moved for summary judgment.

        7.      Plaintiff believes that the identity of the Defendant in question will be answered

prior to February 13, 2020, the initial status date that was set by this Honorable Court. Dkt. 5.1

        8.      For these reasons, Plaintiff wishes to voluntarily dismiss Proxy Protection, LLC

and dismiss this case without prejudice until such time as Plaintiff identifies the entity or person

that sent the subject facsimile.

        WHEREFORE, Plaintiff hereby gives notice that this action should be voluntarily

dismissed without prejudice against Defendant Proxy Protection, LLC with both each party named

herein to bear their own attorney’s fees and costs.

Dated: January 27, 2020                                           Respectfully submitted,

                                                                  /s/ James C. Vlahakis
                                                                  James C. Vlahakis, Esq.
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                                                                  Counsel for Plaintiff




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 The Court so desire to maintain this date to serve as a method to update the Court as to the identification
of the proper Defendant.

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